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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                         AT LOUISVILLE
                                        Electronically Filed

                                                 )
 STEPHANIE NEWTON,                               )
                                                 )
                   Plaintiff,                    )
                                                 )
  v.                                             )   CIVIL ACTION NO. 3:20-cv-00711-GNS
                                                 )
 AMAZON.COM SERVICES, LLC,                       )
 AMAZON.COM SERVICES, INC.,                      )
 REED GROUP MANAGEMENT, LLC,                     )
 REED GROUP, LTD.                                )
                                                 )
                   Defendants.                   )

                                  AGREED ORDER OF DISMISSAL

        Plaintiff Stephanie Newton and Defendants Amazon.com Services, LLC, Amazon.com

 Services, Inc., Reed Group Management, LLC, and Reed Group, LTD (collectively the “Parties”),

 having settled all claims asserted herein, having agreed to the entry of this Order, and the Court

 being sufficiently advised;

        IT IS HEREBY ORDERED that the above-referenced action be and hereby is dismissed

 with prejudice, and stricken from the Court’s docket, with each party to bear its own attorney’s

 fees and costs.




                                                                    August 24, 2021
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 HAVE SEEN AND AGREED TO:

  /s/ Elizabeth A. Thornsbury
  ELIZABETH A. THORNSBURY
  Email: elizabeth@austinmehr.com
  Mehr, Fairbanks & Peterson
  Trial Lawyers, PLLC
  201 West Short Street, Suite 800
  Lexington, Kentucky 40507
  Counsel for Plaintiff

  /s/ Rheanne Dodson Falkner (with permission)
  Rheanne Dodson Falkner
  Email: rfalkner@grsm.com
  Gordon Rees Scully & Mansukhani, LLP
  Waterfront Plaza, Suite 2300
  325 W. Main Street
  Louisville, Kentucky 40202
  Counsel for Defendants Reed Group Management
  LLC and Reed Group, LTD

  /s/ Stephanie D. Ahmad (with permission)
  Stephanie D. Ahmad
  Email: ahmads@gtkaw.com
  Greenberg Traurig, LLP
  1900 University Avenue, 5th Floor
  East Palo Alto, California 94303

  Bardia Sanjabi
  Email: sanjabib@gtlaw.com
  Greenberg Traurig, LLP
  3333 Piedmont Road, NE
  Suite 2500
  Atlanta, Georgia 30305

  Richard McCrea, Jr.
  Email: mcrear@gtlaw.com
  Greenberg Traurig, LLP
  101 East Kennedy Boulevard
  Suite 1900
  Tampa, Florida 33602
  Counsel for Amazon.com Services, LLC and
  Amazon.com Services, Inc.




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